08-13555-scc       Doc 59085         Filed 11/14/18 Entered 11/14/18 12:36:27                    Main Document
                                                  Pg 1 of 21


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 _______________________________________________ x
                                                 :                            Chapter 11
 In re:                                          :
                                                 :                            Case No. 08-13555 (SCC)
 LEHMAN BROTHERS HOLDINGS INC., et al.,          :
                                                 :
                         Debtors.                :
 _______________________________________________ x

                    AMENDED ALTERNATIVE DISPUTE RESOLUTION
                 PROCEDURES ORDER FOR INDEMNIFICATION CLAIMS
                 OF THE DEBTORS AGAINST MORTGAGE LOAN SELLERS

         Upon the motion, dated October 1, 2018 (the “Motion”),1 of Lehman Brothers Holdings

 Inc. (“LBHI”), as Plan Administrator, for, among other ther things, the amendment of the

 Alternative Dispute Resolution Procedures Order for Indemnification Claims of Debtors Against

 Mortgage Loan Sellers [Docket No. 45277] (the “ADR Order”), in the chapter 11 cases of LBHI

 and its affiliated debtors (collectively, the “Debtors”), all as more fully described in the Motion, it

 is,

         HEREBY FOUND AND DETERMINED THAT THE ADR ORDER IS

 AMENDED AS FOLLOWS:2

         A.       The Court has jurisdiction to enter this Order as the matter has a close nexus to the

 chapter 11 cases and the Modified Third Amended Joint Chapter 11 Plan of Lehman Brothers

 Holdings Inc. and Its Affiliated Debtors (the “Plan”), confirmed by Order dated December 6,

 2011 (the “Confirmation Order”). Pursuant to Paragraph 77 of the Confirmation Order and

 Section 14.1 of the Plan, the Court retained jurisdiction over the matter. Venue in this Court for

 the Motion is appropriate pursuant to 28 U.S.C. § 1408.


 1
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
 2
  Pursuant to Bankruptcy Rule 7052, findings of fact shall be construed as conclusions of law and conclusions of law
 shall be construed as findings of fact, where appropriate.
08-13555-scc       Doc 59085      Filed 11/14/18 Entered 11/14/18 12:36:27              Main Document
                                               Pg 2 of 21


            B.    Due and proper notice of the Motion has been provided in accordance with the

 procedures set forth in the Court’s amended Order entered June 17, 2010, governing case

 management and administrative procedures [Docket No. 9635].

            C.    LBHI holds contractual claims for indemnification and/or reimbursement against

 approximately 6,200 counterparties (the “Sellers”) involving more than 70,000 mortgage loans by

 virtue of settlements between (i) LBHI and the Federal National Mortgage Association [Docket

 No. 42153], and (ii) LBHI and the Federal Home Loan Mortgage Corporation [Docket No.

 42754], this Court’s estimation of certain RMBS Trustees’ allowed claim in LBHI’s bankruptcy

 [Docket No. 57785] and the allowance of certain RMBS Trustees’ claims that were settled in the

 ordinary course of business (the “Indemnification Claims”).

            D.    Certain common issues exist regarding the Indemnification Claims, including

 questions involving reimbursement and indemnification rights.

            E.    Substantial value may be recovered for the benefit of creditors and judicial

 efficiency can be promoted if expedient resolution of disputes and recoveries for such claims can

 be achieved without the need for trial of adversary proceedings or other litigation.

            F.    Similar proceedings ordered in these and other complex chapter 11 cases have

 contributed to the effective administration of the proceedings and have reduced costs for all

 parties.

                                               RELIEF

            The procedures described below are ORDERED to promote consensual recovery with

 respect to the Indemnification Claims, and to encourage effective communication, consultation,

 negotiation, and, when necessary, mediation procedures between the affected parties.




                                                   2
08-13555-scc     Doc 59085       Filed 11/14/18 Entered 11/14/18 12:36:27             Main Document
                                              Pg 3 of 21


           1.   Standing Mediation Order. All provisions of the General Order #M-452, adopted

 June 28, 2013, providing for the Adoption of Procedures Governing Mediation of Matters and the

 Use of Early Neutral Evaluation and Mediation/Voluntary Arbitration in Bankruptcy Cases and

 Adversary Proceedings in the Bankruptcy Court for the Southern District of New York, and all

 existing and further amendments thereto (the “Standing Order”) shall apply to the mediations to

 be conducted under this order. To the extent there is any conflict between the Standing Order

 and this Order, the terms of this Order shall govern.

           2.   Sellers. To date, LBHI have identified approximately 6,200 Sellers involving

 more than 70,000 mortgage loans against whom there is reasonable cause for LBHI to believe

 that it holds Indemnification Claims.

           3.   Indemnification ADR Disputes. LBHI will designate a dispute (an

 “Indemnification ADR Dispute”) as to any Indemnification Claim by serving the following on a

 Seller:

           a.   A copy of this Order; and

           b.   An Indemnification ADR Notice (as defined below) (collectively, the

                “Indemnification ADR Package”).

 For purposes of the Indemnification ADR Procedures, service on or notice to a Seller shall be

 deemed adequate if such service or notice is provided to the Seller, the Seller’s counsel, legal

 guardian, estate representative, or other representative by (i) hand delivery, or (ii) overnight mail.

           4.   Settlement of Disputes During the Indemnification ADR Procedures. Nothing

 contained herein shall prevent the parties from settling, and the parties are encouraged to settle,

 an Indemnification ADR Dispute at any time before, during, or following the designation of an

 Indemnification ADR Dispute to the Indemnification ADR Procedures by the mutual consent of



                                                   3
08-13555-scc     Doc 59085      Filed 11/14/18 Entered 11/14/18 12:36:27             Main Document
                                             Pg 4 of 21


 the parties, provided that such settlement either (i) complies with any applicable orders in these

 bankruptcy cases permitting such settlement, or (ii) is approved by specific order of the Court.

        5.      Pre-Mediation Stage Confidentiality. All discussions between the parties and the

 contents of any papers submitted prior to the Mediation Stage (as defined herein) shall remain

 confidential and privileged in accordance with Paragraph 13 of this Order and shall not be

 discoverable or admissible as evidence in any subsequent litigation of the Indemnification ADR

 Dispute or elsewhere, except as provided by further order of this Court.

        6.      Participation Mandatory. Unless otherwise provided in a specific order applicable

 to a particular Indemnification ADR Dispute or a particular Seller, after service of an ADR

 Package on a Seller:

        a.      Compliance with the Indemnification ADR Procedures in this Order is mandatory

                in the specified Indemnification ADR Disputes for both LBHI and the Seller; and

        b.      No party is required to settle or compromise any dispute or enter into a particular

                settlement or compromise. However, once LBHI serves an Indemnification ADR

                Package upon a Seller, the Seller must serve the required responses. LBHI and the

                Seller must also engage in the specified communications to discuss settlement,

                participate in any mediation in good faith, follow the directions of the mediator,

                and otherwise comply with the Indemnification ADR Procedures specified below

                for all Indemnification ADR Disputes covered by such notice.

        7.      No Substitute for Claims Procedures. The Indemnification ADR Procedures are

 not intended and shall not be utilized as a substitute for chapter 11 claims procedures. Nothing

 contained herein, however, shall prevent a Seller from asserting in any respect to an

 Indemnification ADR Notice and elsewhere during the course of an Indemnification ADR



                                                  4
08-13555-scc     Doc 59085      Filed 11/14/18 Entered 11/14/18 12:36:27              Main Document
                                             Pg 5 of 21


 Dispute a right to assert valid and enforceable setoff rights with respect to LBHI’s claim of an

 Indemnification Claim or any other valid defense to a LBHI demand thereunder.

                                  NOTICE/RESPONSE STAGE

        8.      Notice/Response. The initial stage of the Indemnification ADR Procedures will

 be a notice/response stage, providing the parties with an opportunity to exchange settlement

 offers, schedule settlement meetings or conference calls, and, if possible, resolve an

 Indemnification ADR Dispute on a consensual basis (the “Notice/Response Stage”). The

 Notice/Response Stage shall include:

        a.      Indemnification ADR Notice. LBHI shall serve upon a Seller a notice containing

                sufficient information regarding the Indemnification ADR Dispute to make the

                Seller aware of the nature of LBHI’s affirmative claim and of its demand for

                settlement, including an amount of monetary recovery LBHI would accept in full

                settlement and compromise (an “Indemnification ADR Notice”).

        b.      Sellers’s Response to Notice. A Seller must respond to the Indemnification ADR

                Notice in writing through a “Statement of Position” within fifteen (15) calendar

                days from the date of service of the Notice. The response options available to a

                Seller are as follows (the “Responses”):

                i.      Agreeing to Settle the Demand. If a Seller agrees to settle the demand in

                        the Indemnification ADR Notice, the Seller shall state in writing that the

                        offer of settlement in the Indemnification ADR Notice is accepted. The

                        parties will then execute a settlement and general release (including a

                        confidentiality provision) and, if the matter is in litigation, LBHI shall

                        dismiss any applicable claims in a lawsuit or adversary proceeding with



                                                   5
08-13555-scc    Doc 59085        Filed 11/14/18 Entered 11/14/18 12:36:27          Main Document
                                              Pg 6 of 21


                      prejudice upon execution of the release and receipt of the settlement

                      payment; or

               ii.    Denying the Demand. A Seller may decline to settle for the amount stated

                      in the demand in the Indemnification ADR Notice, in which case the Seller

                      must include a brief explanation in the Response to the Indemnification

                      ADR Notice setting forth the reason(s) for such denial. In addition, the

                      Seller may provide a counteroffer to the demand in the Indemnification

                      ADR Notice, in which case the Seller must include a brief explanation

                      setting forth the reason(s) for such counteroffer.

       c.      Failure to Respond. Failure to provide a timely Response to the Indemnification

               ADR Notice, as described in Paragraphs 8(b)(i) and (ii), may result, at the option

               of LBHI, in an application to the Court for Sanctions as set forth below, including

               fees and costs, termination of the mediation and, at LBHI’s discretion, institution

               of an action against the Seller, or immediate entry into the Mediation Stage (as

               defined below).

       d.      Reply to Response. At the option of LBHI, LBHI may serve a reply within fifteen

               (15) days from the date of the receipt of the Response, in which LBHI may (i)

               modify its demand, (ii) respond to any counteroffer, (iii) provide additional

               information or briefing in support of its demands in the Indemnification ADR

               Dispute, or (iv) reject any counteroffer in which case the Indemnification ADR

               Dispute will automatically proceed to the Mediation Stage within fifteen (15)

               calendar days (the “Reply”). If LBHI chooses not to serve a Reply within the




                                                 6
08-13555-scc     Doc 59085        Filed 11/14/18 Entered 11/14/18 12:36:27             Main Document
                                               Pg 7 of 21


                above time frame, the Indemnification ADR Dispute will automatically proceed to

                the Mediation Stage.

        9.      Request for Initial Settlement Conference. At any time in the Notice/Response

 Stage, either LBHI or a Seller may request an initial telephonic settlement conference by written

 request, to be held within five (5) calendar days. Within two (2) calendar days of a receipt of

 such a request, the other parties must respond by acceptance of one of the proposed dates and

 times or by a proposal for an initial settlement call no later than five (5) calendar days from the

 earliest date set forth in the written request. If an acceptable date cannot be achieved through this

 process, the parties shall immediately proceed to the Mediation Stage. At least one hour shall be

 reserved for the initial conference to discuss settlement. No mediator or representative of the

 Court will participate in this discussion, but the initial conference call specified in this Paragraph,

 together with any continuations or rescheduled settlement calls or meetings arising from that

 initial settlement conference, will be covered by Rule 408 of the Federal Rules of Evidence and

 analogous state evidentiary provisions, the confidentiality provisions of this Order shall apply to

 this call or series of calls as if a mediator were present. Settlement conferences during the

 Notice/Response Stage may be held in person if both parties agree in writing.

                                        MEDIATION STAGE

        10.     Mediation. Indemnification ADR Disputes that are not resolved through the

 Notice/Response Stage will proceed to mediation (the “Mediation Stage”).

        a.      Initializing Mediation. LBHI shall contact the mediator to schedule the initial

                mediation date.

        b.      Powers of Mediator. The mediator shall have the broadest possible discretion

                consistent with the Standing Order.



                                                    7
08-13555-scc    Doc 59085      Filed 11/14/18 Entered 11/14/18 12:36:27             Main Document
                                            Pg 8 of 21


       c.      Choice of Mediator. The mediators identified on Schedule A are APPOINTED as

               the mediators for Indemnification ADR Disputes reaching the Mediation Stage.

               LBHI shall select a mediator from the foregoing list. If the initially selected

               mediator is unwilling and/or unavailable to serve, then LBHI shall select an

               alternate mediator from Schedule A. If none of the foregoing are available to

               serve as mediator, an alternate mediator shall be selected as mutually agreed in

               writing by all parties to a specific Indemnification ADR Dispute or group of

               related Indemnification ADR Disputes. Any such alternative shall be deemed to

               have been appointed upon entry into a written stipulation to that effect by LBHI

               and Sellers participating in the applicable Indemnification ADR Dispute or

               Disputes. If the parties cannot agree upon a selection of mediator within ten (10)

               calendar days of the completion of the Notice/Response Stage, the Court shall

               appoint one or more mediators.

       d.      Mediation Sites. All mediation proceedings will take place in New York, New

               York.

       e.      Mediation Materials. LBHI shall submit to the mediator (i) the Indemnification

               ADR Package, (ii) the Response, (iii) the Reply, if any, and (iv) any other

               materials exchanged by the parties reflecting the parties’ relative positions

               (“Mediation Materials”). No additional papers shall be submitted to the mediator

               unless so requested by the mediator. All mediation materials will be delivered at

               least seven (7) days prior to the scheduled mediation proceeding and will not be

               filed with the Court.




                                                 8
08-13555-scc     Doc 59085      Filed 11/14/18 Entered 11/14/18 12:36:27             Main Document
                                             Pg 9 of 21


        f.      Appearance at Mediations. All participants in the mediation for the applicable

                Indemnification ADR Dispute must appear in person at the designated mediation

                location, which shall be the location set forth above unless otherwise agreed to by

                the parties, with a business principal who has settlement authority. Counsel may

                also be present and participate. If the parties are unable to agree on a date for the

                mediation, the mediator will fix a date at his or her discretion.

                                      OTHER PROVISIONS

        11.     Deadlines. Notwithstanding any of the provisions set forth above, any of the

 deadlines contained herein may be modified by: (i) the mutual consent of LBHI and the Seller or

 (ii) the Bankruptcy Court, for cause shown.

        12.     Sanctions for Parties. LBHI and each Seller must participate in good faith with

 these Indemnification ADR Procedures with regard to the ADR Disputes specified in the

 applicable Indemnification ADR Notice. If, after notice and a hearing, the Court determines that

 LBHI or the Seller have not complied with the Indemnification ADR Procedures in good faith in

 connection with any Indemnification ADR Dispute, LBHI or the Seller may be subject to such

 sanctions as the Court deems appropriate (the “Sanctions”). If a mediator reports to the Court

 that any party subject to this Order is not cooperating in good faith with the mediation

 procedures, the Court may, without the need for further motion by any party, schedule a hearing

 and order Sanctions. Litigation with respect to the issuance of Sanctions shall not delay the

 commencement of the Mediation Stage of these procedures upon completion of the

 Notice/Response Stage. Sanctions shall include, but are not limited to:

        a.      Against LBHI: (i) attorneys’ fees; (ii) fees and costs of the mediator; (iii)

                termination of the Indemnification ADR Procedures as to one or more



                                                   9
08-13555-scc     Doc 59085       Filed 11/14/18 Entered 11/14/18 12:36:27              Main Document
                                             Pg 10 of 21


                Indemnification Claims; and/or (iv) rejection of some or all claims asserted by

                LBHI in the applicable Indemnification ADR Dispute.

        b.      Against Sellers: (i) attorneys’ fees; (ii) fees and costs of the mediator; (iii)

                immediate initiation of the mediation stage, provided the matter has not yet

                reached that point; and/or (iv) termination of the mediation with the right for

                LBHI to elect to commence an action against a defaulting Seller.

        13.     Confidentiality. The confidentiality provisions of section 5.0 of the Standing

 Order are hereby incorporated by reference into this Order. No statements or arguments made or

 positions taken by the mediator, LBHI, or Sellers during any part of the alternative dispute

 resolution process, including settlement conferences and the Mediation Stage, may be disclosed

 by the mediator or any such parties or their attorneys and advisors to the Court or any third party.

 Similarly, all briefs, records, reports, and other documents received or made by the mediator

 while serving is such capacity shall remain confidential and not be provided to the Court, unless

 they would be otherwise admissible. In addition, the mediator shall not be compelled to disclose

 such records, reports, and other documents in connection with any hearing held by the Court;

 provided, however, the mediator may report to the Court the status of the mediation efforts but

 shall not disclose the content thereof. Rule 408 of the Federal Rules of Evidence shall apply to

 all aspects of the Indemnification ADR Procedures including settlement conferences and the

 Mediation Stage.

        14.     Removal. If a Seller has commenced any action or proceeding in any other court

 or forum, or commences any other action or proceeding in any other court or forum following

 service upon it of an Indemnification ADR Package, LBHI may seek to remove to this Court any

 such lawsuit, proceeding, or claim and to defend or take action in any such other court or



                                                   10
08-13555-scc     Doc 59085       Filed 11/14/18 Entered 11/14/18 12:36:27            Main Document
                                             Pg 11 of 21


 proceeding to protect LBHI’s creditors, despite the incomplete status of the steps prescribed

 under the Indemnification ADR Procedures.

        15.     No Waiver of Defenses. The parties’ participation in the Indemnification ADR

 Procedures set forth herein, including the Notice/Response Stage and the Mediation Stage, shall

 not cause either LBHI or any individual Seller to waive or release any claims, defenses, or

 remedies that the individual parties would otherwise hold, except to the extent that the parties

 enter into a settlement providing for the consensual waiver or release of claims, defenses, and/or

 remedies.

        16.     Jury Trials Unaffected. Except to the extent a Seller affirmatively chooses the

 mediation option set forth herein, participation in the Indemnification ADR Procedures shall not

 waive any right to a jury trial that might otherwise exist.

        17.     Fees. Except as otherwise provided herein, each party to the mediation shall bear

 its own costs and counsel fees in connection with mediation and share equally in the reasonable

 fees and costs charged by the mediator. Any deposit required by the mediator must be made

 within ten (10) days of the request and the failure to pay any such deposit may subject the party

 to the Sanctions described in Section 12. Any retainer not used will be held by the mediator

 through the conclusion of the mediation, as determined by the mediator.

        18.     Objectors. Nothwithstanding the foregoing, this Order does not apply to the

 objectors (identified in Schedule B annexed hereto (the “Objectors”)). Separate ADR procedure

 orders will be entered as to the Objectors.

        19.     The Modified ADR Orders. Notwithstanding the foregoing, this Order does not

 apply to the parties subject to the following orders: (i) the Alternative Dispute Resolution

 Procedure Order for Indemnification Claims of the Debtors Against Certain Mortgage Loan



                                                   11
08-13555-scc    Doc 59085      Filed 11/14/18 Entered 11/14/18 12:36:27          Main Document
                                           Pg 12 of 21


 Sellers, dated July 28, 2015 [Docket No. 50465], (ii) Alternative Dispute Resolution Procedures

 Order for Indemnification Claims of the Debtors Against Mortgage Loan Seller SecurityNational

 Mortgage Company, dated Aug. 12, 2014 [Docket No. 45702], (iii) Alternative Dispute

 Resolution Procedures Order For Indemnification Claims of the Debtors Against Mortgage Loan

 Sellers Universal American Mortgage Company, LLC, Standard Pacific Mortgage, Inc., Shea

 Mortgage, Inc., CTX Mortgage Company, LLC, PrimeLending, A PlainsCapital, Company,

 Allied Mortgage Group, Inc., and DHI Mortgage Company, LTD., dated July 21, 2014 [Docket

 No. 45315], (iv) Alternative Dispute Resolution Procedures Order for Indemnification Claims of

 the Debtors Against Mortgage Loan Seller, Stearns Lending, LLC f/k/a Stearns Lending, Inc.,

 dated July 21, 2014 [Docket No. 45314], and (v) Alternative Dispute Resolution Procedures

 Order for Indemnification Claims of the Debtors Against Alleged Mortgage Loan Sellers PHH

 Home Loans, LLC, PHH Home Loans, LLC d/b/a Sunbelt Lending Services, Inc., RMR

 Financial LLC, and Axiom Financial LLC, dated September 14, 2016 [Docket No. 53653]

 (together, the “Modified ADR Orders”). The Modified ADR Orders will be amended by separate

 orders.




 IT IS SO ORDERED:

 November 14, 2018
 New York, New York

                                             /S/ Shelley C. Chapman
                                             UNITED STATES BANKRUPTCY JUDGE




                                                12
08-13555-scc   Doc 59085   Filed 11/14/18 Entered 11/14/18 12:36:27   Main Document
                                       Pg 13 of 21




                     SCHEDULE A
08-13555-scc      Doc 59085   Filed 11/14/18 Entered 11/14/18 12:36:27   Main Document
                                          Pg 14 of 21


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08-13555-scc     Doc 59085   Filed 11/14/18 Entered 11/14/18 12:36:27        Main Document
                                         Pg 15 of 21


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08-13555-scc   Doc 59085      Filed 11/14/18 Entered 11/14/18 12:36:27   Main Document
                                          Pg 16 of 21


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                                            3
08-13555-scc   Doc 59085   Filed 11/14/18 Entered 11/14/18 12:36:27   Main Document
                                       Pg 17 of 21




                     SCHEDULE B
08-13555-scc    Doc 59085     Filed 11/14/18 Entered 11/14/18 12:36:27    Main Document
                                          Pg 18 of 21



                     Party                              Docket Number

  Access National Mortgage Corporation       [Case No. 08-13555, Dkt. No. 58959]
                                             [Case No. 08-13555, Dkt. No. 58953];
  Acre Mortgage & Financial, Inc.            [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Advisors Mortgage Group, LLC               [Case No. 08-13555, Dkt. No. 58959]

  America’s Mortgage Alliance, Inc.          [Case No. 08-13555, Dkt. No. 58953]

  America’s Mortgage, LLC                    [Case No. 08-13555, Dkt. No. 58953]

  American Capital Corporation               [Case No. 08-13555, Dkt. No. 58959]

  American Pacific Mortgage Corp             [Case No. 08-13555, Dkt. No. 58958]
                                             [Case No. 08-13555, Dkt. No. 58953];
  Apex Home Loans, Inc.                      [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                             [Case No. 08-13555, Dkt. No. 58953];
  Approved Funding Corp.                     [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                             [Case No. 08-13555, Dkt. No. 58953];
  Arlington Capital Mortgage Corporation     [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Avenue Mortgage, Inc.                      [Case No. 08-13555, Dkt. No. 58949]
                                             [Case No. 08-13555, Dkt. No. 58953];
  Bondcorp Realty Services Inc.              [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                             [Case No. 08-13555, Dkt. No. 58953];
  Broadview Mortgage Corporation             [Adv. Proc. No. 16-01019, Dkt. No. 678]
  BWC Mortgage Services f/k/a Commerce       [Case No. 08-13555, Dkt. No. 58953];
  Home Mortgage, Inc. f/k/a Simonich Corp.   [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                             [Case No. 08-13555, Dkt. No. 58953];
  CapWest Mortgage Corporation               [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Cherry Creek Mortgage Co., Inc.            [Case No. 08-13555, Dkt. No. 58955]
                                             [Case No. 08-13555, Dkt. No. 58953];
  CMG Mortgage, Inc.                         [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                             [Case No. 08-13555, Dkt. No. 58953];
  Congressional Bancshares, Inc.             [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Cornerstone Mortgage, Inc                  [Case No. 08-13555, Dkt. No. 58958]
                                             [Case No. 08-13555, Dkt. No. 58953];
  Cranbrook Mortgage Corporation             [Adv. Proc. No. 16-01019, Dkt. No. 678]
08-13555-scc    Doc 59085       Filed 11/14/18 Entered 11/14/18 12:36:27       Main Document
                                            Pg 19 of 21



                       Party                                 Docket Number
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Empire Financial Services, Inc.                 [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Equity Resources, Inc.                          [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Farmers Bank and Trust                          [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  FBC Mortgage, LLC                               [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  First Equity Financial, LLC                     [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  First Mortgage Corporation                      [Adv. Proc. No. 16-01019, Dkt. No. 678]

  First Option Mortgage                           [Case No. 08-13555, Dkt. No. 58959]

  First Savings Mortgage Corporation              [Case No. 08-13555, Dkt. No. 58949]
  Gateway Funding Diversified Mortgage            [Case No. 08-13555, Dkt. No. 58953];
  Services, L.P.                                  [Adv. Proc. No. 16-01019, Dkt. No. 678]

  GMFS LLC                                        [Case No. 08-13555, Dkt. No. 58959]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Greentree Mortgage Company, L.P.                [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Group 2000 Real Estate Services, Inc.           [Case No. 08-13555, Dkt. No. 58949]

  Guild Mortgage Company                          [Adv. Proc. No. 17-01001, Dkt. No. 63]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Hartland Mortgage Centers, Inc.                 [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Hometrust Mortgage Company                      [Case No. 08-13555, Dkt. No. 58957]

  iFreedom Direct Corp.                           [Case No. 08-13555, Dkt. No. 58916]

  imortgage.com, Inc                              [Adv. Proc. No. 16-01019, Dkt. No. 681]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  J.G. Wentworth Home Lending, LLC                [Adv. Proc. No. 16-01019, Dkt. No. 678]
  Jersey Mortgage Company of New Jersey,
  Inc.                                            [Case No. 08-13555, Dkt. No. 58959]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Kings Mortgage Services, Inc.                   [Adv. Proc. No. 16-01019, Dkt. No. 678]


                                              2
08-13555-scc    Doc 59085       Filed 11/14/18 Entered 11/14/18 12:36:27       Main Document
                                            Pg 20 of 21



                        Party                                Docket Number
  LHM Financial Corporation dba CNN               [Case No. 08-13555, Dkt. No. 58953];
  Mortgage                                        [Adv. Proc. No. 16-01019, Dkt. No. 678]
  Loan Simple, Inc. f/k/a Ascent Home Loans       [Case No. 08-13555, Dkt. No. 58953];
  Inc.                                            [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Luxury Mortgage Corp                            [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Mason McDuffie Mortgage Corp.             [Case No. 08-13555, Dkt. No. 58959]
  MC Advantage, LLC f/k/a Republic Mortgage [Case No. 08-13555, Dkt. No. 58953];
  Home Loans, LLC                           [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                            [Case No. 08-13555, Dkt. No. 58953];
  Mega Capital Funding, Inc.                [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Merrimack Mortgage Company, Inc                 [Case No. 08-13555, Dkt. No. 58959]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Michigan Mutual, Inc.                           [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Millennium Mortgage Capital                     [Adv. Proc. No. 16-01019, Dkt. No. 678]
  Mortgage Access Corp. d/b/a Weichert            [Case No. 08-13555, Dkt. No. 58953];
  Financial Services                              [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Neighbor's Financial Corporation                [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  New Fed Mortgage Corp.                          [Adv. Proc. No. 16-01019, Dkt. No. 678]

  North American Savings Bank                     [Case No. 08-13555, Dkt. No. 58961]

  North Atlantic Mortgage Corporation             [Adv. Proc. No. 16-01019, Dkt. No. 672]

  Nova Financial & Investment Corporation         [Case No. 08-13555, Dkt. No. 58959]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Oaktree Funding Corp.                           [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Parkside Lending, LLC                           [Case No. 08-13555, Dkt. No. 58958]

  Perl Mortgage, Inc.                             [Case No. 08-13555, Dkt. No. 58959]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Republic State Mortgage Co.                     [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                  [Case No. 08-13555, Dkt. No. 58953];
  Residential Home Funding Corp.                  [Adv. Proc. No. 16-01019, Dkt. No. 678]


                                              3
08-13555-scc    Doc 59085     Filed 11/14/18 Entered 11/14/18 12:36:27             Main Document
                                          Pg 21 of 21



                     Party                                       Docket Number
                                                     [Adv. Proc. No. 16-01019, Dkt. No. 662];
  Response Mortgage Services, Inc.                   [Adv. Proc. No. 16-01019, Dkt. No. 682]
                                                     [Case No. 08-13555, Dkt. No. 58953];
  Ross Mortgage Corporation                          [Adv. Proc. No. 16-01019, Dkt. No. 678]
  Sacramento 1st individually and as successor
  by merger to Comstock Mortgage                     [Case No. 08-13555, Dkt. No. 58958]
                                                     [Case No. 08-13555, Dkt. No. 58953];
  Security Home Mortgage LLC                         [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Security National Mortgage Company                 [Case No. 08-13555 Dkt. No. 58956]

  SGB n/k/a Wintrust Mortgage Corp.                  [Case No. 08-13555, Dkt. No. 58955]

  Sierra Pacific Mortgage Company, Inc               [Case No. 08-13555, Dkt. No. 58953]

  Southern Fidelity Mortgage Corporation             [Case No. 08-13555, Dkt. No. 58949]
                                                     [Case No. 08-13555, Dkt. No. 58953];
  Sterling National Mortgage Company, Inc.           [Adv. Proc. No. 16-01019, Dkt. No. 678]

  Suburban Mortgage, Inc.                            [Case No. 08-13555, Dkt. No. 58953]
                                                     [Case No. 08-13555, Dkt. No. 58953];
  Summit Mortgage Corporation                        [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                     [Case No. 08-13555, Dkt. No. 58953];
  Sun American Mortgage Company                      [Adv. Proc. No. 16-01019, Dkt. No. 678]

  The Mortgage Link, Inc.                            [Case No. 08-13555, Dkt. No. 58959]
                                                     [Case No. 08-13555, Dkt. No. 58953];
  Warshaw Capital, LLC                               [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                     [Case No. 08-13555, Dkt. No. 58953];
  Watson Mortgage Corp.                              [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                     [Case No. 08-13555, Dkt. No. 58953];
  Windsor Capital Mortgage Corporation               [Adv. Proc. No. 16-01019, Dkt. No. 678]
                                                     [Case No. 08-13555, Dkt. No. 58953];
  WR Starkey Mortgage, LLP                           [Adv. Proc. No. 16-01019, Dkt. No. 678]




                                                 4
